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 3   Telephone: (4l5) 397-0860

 4   Attorney for Defendant
     WHITNEY OSTERHOUT
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 8                              UNITED STATES DISTRICT COURT

 9                         NORTH ERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                   )         No. CR 05-00491 VRW
                                                 )
11                 Plaintiff,                    )         ORDER PURSUANT TO
                                                 )         STIPULATION PERMITTING
12          vs.                                  )         DEFENDANT TO TRAVEL
                                                 )         OUTSIDE NORTHERN
13   WHITNEY OSTERHOUT,                          )         CALIFORNIA
                                                 )
14                 Defendants.                   )
                                                 )
15

16          IT IS HEREBY ORDERED that defendant WHITNEY OSTERHOUT is hereby

17   authorized to travel outside the Northern District of California to Reno, Nevada, to visit her

18   father there, from August 12 to 15, 2006. This Order is contingent on defendant providing
19   Pretrial Services with the details of her travel plans, where and with whom she will be staying

20   and the telephone number there.

21   DATED: August 11, 2006
                                                JUDGE, FEDERAL DISTRICT COURT
22

23   SO STIPULATED:

24   DATED: August 8, 2006                      KEVIN V. RYAN
                                                United States Attorney
25
                                             By:/s/ Laurel Beeler
26                                             LAUREL BEELER
                                                Assistant United States Attorney
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     ORDER PERMITTING DEFENDANT’S TRAVEL
     No. CR 05-00491 VRW                             -1-
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 1          I am informed that Pretrial Services Officer Victoria Gibson has approved this travel

 2   by Defendant.

 3   DATED: August 8, 2006                     /s/ Geoffrey Rotwein
                                               GEOFFREY ROTWEIN
 4                                             Attorney for Defendant
                                               WHITNEY OSTERHOUT
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     ORDER PERMITTING DEFENDANT’S TRAVEL
     No. CR 05-00491 VRW                         -2-
